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ee Navin Singh, MD, FACS

WASHINGTONIAN Clinical Asst. Professor Plastic Surgery
PLASTIC SURGERY Johns Hopkins School of Medicine

Re Ryan Salame DOB CL

October 3, 2024

To Whom it May Concern:

The above identified patient was initially evaluated July 3, 2024 after sustainina a doa-bite
iniurv to the face on June 28th. 2024 bv a 125 lb German Shepard.

7601 Lewinsville Rd, Suite 200, McLean, VA 22102 Tel: 703-345-4377

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Please don’t hesitate to contact me for any further information.

Regards,

Navin Singh, MD, M.Sc.

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